Case No. 1:25-cv-01163-CNS        Document 13       filed 04/14/25    USDC Colorado        pg 1
                                          of 5




                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF COLORADO

Civil Action No. 25-cv-1163-CNS

D.B.U. et al.,

       Petitioners-Plaintiffs,

v.

DONALD J. TRUMP, in his official capacity as President of the United States, et al.,

       Respondents-Defendants.


                     EMERGENCY MOTION FOR CLARIFICATION



       Petitioners-Plaintiffs (“Petitioners”) respectfully seek clarification as to the scope

and the length of the Court’s Minute Order, issued on April 14, 2025, ordering that the

Defendants shall not remove Petitioners from the District of Colorado or the United

States until further order of the court or the Court of Appeals for the Tenth Circuit.

First, Petitioners seek clarification whether the Court’s order covers unnamed class

members. 1 Petitioners seek emergency relief on behalf of a class of all noncitizens in

custody in the District of Colorado who were, are, or will be subject to the March 2025

Presidential Proclamation titled “Invocation of the Alien Enemies Act Regarding the




1
 Pursuant to D.C.Colo.LCivR 7.1, Petitioners have sought Respondents’ position on this
motion by communicating with the Chief of the Civil Division at the United States
Attorneys’ Office for the District of Colorado, with whom they have been communicating
since first filing this lawsuit on April 12, 2025. Counsel for Respondents indicates that
Respondents oppose this motion.
Case No. 1:25-cv-01163-CNS       Document 13       filed 04/14/25   USDC Colorado          pg 2
                                         of 5




Invasion of the United States by Tren De Aragua” and/or its implementation. The class

is identical, save for the District, to the class protected by the Temporary Restraining

Orders issued in G.F.F. v. Trump (No. 25-cv-2886, S.D.N.Y.) (enjoining Respondents

from removing “all noncitizens in federal, state, or local custody in the Southern District

of New York who are, were, or will be subject to the March 2025 Presidential

Proclamation” from the Southern District of New York), attached as Exhibit A. See also

J.A.V. v. Trump (No. 25-cv-72, S.D. Tex.) (enjoining Respondents from removing the

named petitioners and “any person that Respondents have previously claimed is subject

to removal under the Proclamation” from the Southern District of Texas), attached as

Exhibit B.

       Undersigned counsel has received credible reports that, as recently as this

morning, Venezuelan men at the Denver Contract Detention Facility who had been

accused of Tren de Aragua affiliation were rousted from bed and told that they would be

leaving the Detention Facility today. They repeatedly asked where they would be taken,

and ICE officers refused to answer. They were subsequently informed that the flight

they were supposed to be on had been cancelled today, and therefore, upon

information and belief, they have not been removed from Colorado as of the time of this

filing. Given the likelihood however that, without further clarity from the Court pending

the hearing set for April 21, 2025, members of the proposed class will be systematically

removed from the District and unlawfully removed under the Proclamation, Petitioners

request an order clarifying that the Court’s prohibition on removal applies to the

proposed class as well as named Petitioners.
Case No. 1:25-cv-01163-CNS       Document 13      filed 04/14/25    USDC Colorado         pg 3
                                         of 5




       Second, Petitioners seek clarification as to the length of the order. The order

prohibits Defendants from removing Petitioners from the District of Colorado or the

United States “unless or until this Court or the Court of appeals for the Tenth Circuit

vacates this Order.” Because briefing and a hearing are forthcoming, Petitioners

respectfully request that the current order last no longer than fourteen days, or by

further order of the Court, to avoid any confusion about consistency with F.R.C.P. Rule

65(b)(2).

Dated: April 14, 2025

                                          Respectfully submitted,


                                          s/ Timothy R. Macdonald
                                          __________________________
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Case No. 1:25-cv-01163-CNS   Document 13    filed 04/14/25    USDC Colorado          pg 4
                                     of 5




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Case No. 1:25-cv-01163-CNS        Document 13         filed 04/14/25   USDC Colorado   pg 5
                                          of 5




                               CERTIFICATE OF SERVICE

       I hereby certify that on April 14, 2025, I electronically filed the foregoing

EMERGENCY MOTION FOR CLARIFICATION with the Clerk of the Court using the

CM/ECF system, and that in accordance with Fed. R. Civ. P. 5, all counsel of record

shall be served electronically through such filing.


                                                           /s/ Mia Bailey
                                                           __________________________
                                                           Mia Bailey
